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June 24, 2025
Via ECF

Patricia S. Dodszuweit
Clerk of Court
U.S. Court of Appeals for the Third Circuit
21400 United States Courthouse
601 Market Street
Philadelphia, PA 19106
Re:   Atlas Data Privacy Corp. v. We Inform, LLC, et al., No. 25-1555 through
      25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
      Notice of Supplemental Authority Pursuant to Fed. R. App. P. 28(j)
Dear Ms. Dodszuweit:
      We write in response to the New Jersey Attorney General’s letter filed
on June 19, 2025.
      Kratovil v. City of New Brunswick, 2025 WL 1689346 (N.J. June 17,
2025), does not control this appeal. That decision – holding the government
can prevent and punish the republication of lawfully obtained truthful
information on a matter of public concern – is unprecedented. This Court is not
bound by that erroneous state court decision on a federal constitutional
question. In any event, Kratovil is readily distinguishable.
        Unlike this facial challenge, Kratovil involved an “as-applied challenge”
to specific facts involving a specific officer’s demand to prevent a specific
person from publishing his address. Id. at *3-4. Evaluating only the narrow
challenge before it, the court applied the Daily Mail test. Citing Schrader v.
District Attorney of York County, 74 F.4th 120, 126 (3d Cir. 2023), the court
acknowledged both that test and the strict scrutiny standard, explaining strict
scrutiny governs if a “Law’s restriction is content-based,” but applying the
Daily Mail test because Kratovil’s “as-applied challenge [was] premised on
th[at] standard.” Kratovil, 2025 WL 1689346 at *13 n.5. Kratovil says nothing
about the appropriate standard to apply in this facial challenge to Daniel’s
Law’s content-based restrictions and instead suggests the Law must withstand
strict scrutiny.
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      The as-applied nature of Kratovil’s analysis was central to its holding.
For instance, the court considered only “whether Daniel’s Law, as applied to
Kratovil, is narrowly tailored.” Id. at *15. It did not consider – among other
things – the Law’s:

            broad definition of “disclose”;

            lack of any verification mechanism;

            unusual assignment provision; and

            absence of a scienter requirement.
Each of these presents significant First Amendment concerns. Together, they
pose a “trap for the unwary.” Id.
       Kratovil also did not consider more narrowly tailored state laws that
serve safety interests, or examine why New Jersey alone adopted a uniquely
broad and punitive regime. Nor did Kratovil consider the Law’s carve-outs
allowing government disclosures and public self-disclosures by covered
persons, both of which implicate their safety.
      For these reasons, and others to be discussed at argument, Kratovil does
not impact this appeal.

Respectfully submitted,

On behalf of All Defendants-Appellants

/s/ Michael Berry
Michael Berry
Marcel S. Pratt
Anna Kaul

Attorneys for Defendants-Appellants
Thomson Reuters Enterprise Centre GmbH
and West Publishing Corporation (No. 25-1570)
Word Count: 349

cc: All Counsel of Record (via ECF)
